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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 MARION SINCLAIR,                                 Case No. 18-14042
     Plaintiff,
 v.                                               Ter1rence G. Berg
                                                  United States District Judge
 ANDY MEISNER, et al.,
      Defendants.                                 Michael J. Hluchaniuk
 ____________________________/                    United States Magistrate Judge


               REPORT AND RECOMMENDATION
       DEFENDANTS’ MOTIONS TO DISMISS (ECF Nos. 13, 15, 17)

I.    PROCEDURAL HISTORY

      Plaintiff Marion Sinclair filed this action, pro se, challenging a state tax

foreclosure action on property she owned in Southfield, Michigan, against various

city and county defendants. (ECF No. 1). In March 2019, defendants filed

motions to dismiss, largely challenging this Court’s subject matter jurisdiction over

this case. (ECF Nos. 13, 15, 17). The motions are fully briefed. (ECF Nos. 22,

23, 2, 26). In December 2019, the case was administratively reassigned to the

undersigned as Magistrate Judge. On January 3, 2020, District Judge Terrence G.

Berg referred pretrial matters to the undersigned. (See Text-Only Order dated

12/23/2019; ECF No. 33).

      For the reasons stated below, the undersigned recommends this case be

dismissed without prejudice.
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II.   FACTUAL BACKGROUND

      From what can be gleaned from the pleadings, plaintiff, proceeding pro se in

this case, was the former owner of a single-family residence at 15737 New

Hampshire Drive in Southfield, Michigan which is located in Oakland County.

After plaintiff fell behind in her property taxes the Oakland County Treasurer

initiated forfeiture and foreclosure proceedings, on June 12, 2015, against the

property pursuant to the General Property Tax Act, M.C.L. § 211.1 et. seq.,

(GPTA). The GPTA is a statutory procedure allowing public entities to foreclose

on properties that are delinquent in taxes and, in one of several alternative means,

return the properties to the public rolls. The GPTA foreclosure procedure is

different from the general judicial foreclosure procedure provided for in Michigan

law. M.C.L. § 600.3101, et seq. As part of the GTPA procedure, a judgment of

foreclosure was entered in the Oakland County Circuit Court on February 2, 2016.

(ECF No. 17-1, PageID.464). Documents attached to the judgment of foreclosure

indicate that taxes had not been paid for years 2009-2013 and that the then existing

delinquency, including unpaid taxes as well as interest and fees, was $22,047.46.

(ECF No. 17-1, PageID.468). Under the terms of the GPTA, M.C.L. §

211.78k(5)(b), the judgment of foreclosure ordered that title to the property was

vested in the Treasurer of the County of Oakland. The property was subsequently

sold to the City of Southfield on July 7, 2016, for $28,424.84. (ECF No. 15-3,


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PageID.381). This sale was permitted pursuant to the terms of the GPTA, M.C.L. §

211.78m(1), after the “state” failed to act on its right of first refusal. Plaintiff did

not appeal or otherwise challenge the judgment of foreclosure.

      On September 22, 2016, the City of Southfield deeded the property to the

Southfield Neighborhood Revitalization Initiative, LLC (NRI), a non-public entity.

(ECF No. 15-4, PageID.383). According to the Southfield Non-Profit Housing

Corporation, the transfer was part of an ongoing relationship with the City of

Southfield whereby the NRI (a limited liability corporation with the Southfield

Non-Profit Housing Corporation being the only member) would “[purchase] tax

foreclosed and other properties, [improve] such properties, [then sell] such

properties to persons of low to moderate income [thus] improving housing and

homeownership opportunities in the City of Southfield and [thereby] restore tax-

foreclosed properties to the tax-roll.” (ECF No. 15-1, PageID.359).

      Plaintiff alleges that she was “illegally evicted” from her house by various

individuals and that some of these individuals “broke in and changed her locks …

without the benefit of a court order.” (ECF No. 8, PageID.120). The specific date

plaintiff left her residence is not entirely clear. At one point in her response to the

motions to dismiss plaintiff states that the “illegal home invasion” occurred on

October 6, 2016. (ECF No. 22, PageID.520). In the affidavit attached to her

response plaintiff asserts that the event took place on October 4, 2016. (ECF No.


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22, PageID.526). The photographs attached to the brief in support of the motion of

the Southfield Non-Profit defendants to dismiss, which purport to show the

condition of the premises at the time plaintiff left, bear the date November 14,

2016. (ECF No. 15-5, PageID.385). Plaintiff alleges that employees of GTJ

Consulting, LLC and JBR Disposal, LLC, “took” her from her home. (ECF No. 8,

PageID.120). The Southfield Non-Profit defendants claim that plaintiff’s home was

“deplorable” and “unhealthy” and she was “assisted” in moving to a “safe, clean

and affordable apartment” when she left the residence. (ECF No. 15-1,

PageID.360). Defendants do not claim to have had a court order to enter her home

and remove her.

      Plaintiff filed the present amended complaint alleging a number of claims all

arising out of the 2016 foreclosure of her residence in Southfield, Michigan, and

her subsequent departure from that residence. The allegations include violations of

the Fair Housing Act, violations of Michigan statutory and common laws regarding

illegal property transfer, Constitutional violations actionable through 42 U.S.C. §

1983, violations of the Racketeer Influenced Corrupt Organization Act (RICO), 18

U.S.C. § 1961, et seq., forcible illegal eviction in violation of state law, and

conversion in violation of Michigan statutory and common laws. (ECF No. 8,

PageID.132-141).




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       The relief plaintiff requests includes (1) a declaratory judgment that

defendants have violated the Fair Housing Act, and (2) injunctions that would (a)

order the creation of new rules regarding the transfer of property sold in a tax sale,

(b) return plaintiff to the position she was in prior to the foreclosure, (c) “reverse

the tax foreclosure,” (d) require an immediate forensic accounting, and (e) require

that documents be produced that would relate to “all property sales” during 2016,

2017, and 2018. In addition, plaintiff asks that defendants be enjoined from

“usurping rights of African-Americans to bid on properties at public auctions.”

Besides the injunctive relief, plaintiff seeks money damages. (ECF No. 8,

PageID.145-48).

       The responding defendants can be grouped into three categories including:

(1) the City of Southfield defendants 1, (2) the Southfield Non-Profit Housing

Corporation defendants 2, and (3) the Oakland County defendants 3. The City of

Southfield defendants (hereinafter Southfield) filed a motion to dismiss seeking

dismissal of the amended complaint under Fed. R. Civ. P. 12(b)(1) claiming lack of


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         These defendants include the City of Southfield, Frederick Zorn, Gerald Witkowski,
Sue Ward-Witkowski, Irv Lowenberg, Michael Mandlebaum, Donald Fracassi, Daniel
Brightwell, Myron Fraser, Lloyd Crews, and Nancy Banks.
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         These defendants include the Southfield Non-Profit Housing Corporation, the
Southfield Neighborhood Revitalization Initiative, LLC., Mitchell Simon, Rita Fulgiam Hillman,
Lora Brantley-Gilbert, Earlene Trayler-Neal, and E’Toile Libbits.
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         These defendants include Oakland County and Oakland County Treasurer Andy
Meisner, in his official capacity.


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subject matter jurisdiction. (ECF No. 13). The Southfield Non-Profit Corporation

defendants (hereinafter Southfield Non-Profit) also filed a motion to dismiss the

amended complaint under Fed. R. Civ. P. 12(b)(1) claiming lack of subject matter

jurisdiction and under Fed. R. Civ. P. 12(b)(6) claiming failure to state a claim.

(ECF No. 15). The Oakland County defendants (hereinafter Oakland) filed a

motion seeking the dismissal of the amended complaint under Fed. R. Civ. P.

12(b)(1) claiming lack of subject matter jurisdiction and under Fed. R. Civ. P.

12(b)(6) claiming failure to state a claim. (ECF No. 17).

      All three categories of defendants seek to have the amended complaint

dismissed based on the provisions of the Tax Injunction Act (28 U.S.C. § 1341)

and principles of comity. (ECF No. 13, PageID.290; ECF No. 15-1, PageID.365;

and ECF No. 17, PageID.447).

      In her response to the arguments regarding the Tax Injunction Act (TIA) and

comity, plaintiff comments on the application of the TIA and comity but did not

directly address the applicability of it to her circumstances. (ECF No. 22,

PageID.520-21). In an apparent reference to the availability of adequate state

remedies, plaintiff did mention that attempts by others to litigate similar claims in

state court had been unsuccessful. (ECF No. 22, PageID.517-18). Plaintiff also

responded to the defendants’ motions to dismiss by arguing that the foreclosure of

her residence was akin to the civil in rem forfeiture that the Supreme Court found


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to be in violation of the excessive fines clause of the 8th Amendment citing Timbs

v. Indiana, 568 U.S. 2 (2019). Additionally, plaintiff contended she was

improperly denied a property tax exemption based on her income level which, if

granted, would have allowed her to pay a reduced property tax. (ECF No. 22,

PageID.516). With respect to the Rooker-Feldman doctrine, plaintiff contends she

was not trying to have a state court judgment reversed – she was merely seeking to

vindicate her constitutional rights in federal court. (ECF No. 22, PageID.523).

III.   DISCUSSION

       A.    Motion to Dismiss

       All three of defendants’ motions include arguments that are characterized as

motions to dismiss based on lack of subject matter jurisdiction under Fed. R. Civ.

P. 12(b)(1). Two varieties of Rule 12(b)(1) motions exist: one is a facial challenge

to the lawsuit where a defendant challenges the complaint on its face in an attempt

to show the court lacks subject matter jurisdiction and the second variety is where

a defendant challenges the factual basis of the complaint in an attempt to make the

same showing. In the former circumstances the court takes the allegations of the

complaint as true and in the latter circumstances the court is free to weigh the

evidence and “no presumptive truthfulness” attaches to the allegations in the

complaint. In either situation, the plaintiff has the burden of proof that the court

has subject matter jurisdiction. RMI titanium Co. v Westinghouse Electric Corp. et


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al., 78 F.3d 1125, 1133-1135 (6th Cir. 1996). The motions to dismiss appear to be

a facial challenge to the amended complaint where the allegations in the complaint

are taken as true.

      B.     Tax Injunction Act and Comity

      All three categories of defendants contend that the Tax Injunction Act, 28

U.S.C. § 1341, bars federal district courts from addressing certain types of cases

that seek to “enjoin, suspend or restrain the assessment, levy or collection of any

tax under State law where a plain, speedy and efficient remedy may be had in the

courts of such State.” To the extent a plaintiff is seeking damages other than

injunctive relief, defendants must look outside of the TIA because that legislation

is limited to injunctive relief. However, relief including money damages, as well as

injunctive relief, is available under the principles of comity which is a separate, but

related area of the common law that prohibits plaintiffs seeking money damages

arising out of states attempting to collect taxes. Wright v Pappas, 256 F.3d 635,

637 (7th Cir. 2001).

      Plaintiff is clearly an intelligent individual, but she is not a lawyer and

therefore her pleadings are viewed differently than those drafted by an attorney.

Pro se litigants are entitled to a more liberal reading than pleadings drafted by a

lawyer. Thomas v. Eby, 481 F.3d 434, 437 (6th Cir. 2007). That being said, the

pleadings must still generally comply with the legal standards for matters pending


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in federal court. Davis v. Prison Health Services, 679 F.3d 433, 437-38 (6th Cir.

2012). The amended complaint sets out six causes of action as noted above. A

separate section of the complaint addresses the relief plaintiff is requesting and, for

the most part, the relief requested is not linked to the specific causes of action. The

type of relief requested is critical in determining if the court has subject matter

jurisdiction as limited by the TIA or the principles of comity.

      Plaintiff’s requested relief includes: (1) “declaring” the “policies and

practices” of Oakland and Southfield violate the Fair Housing Act; (2) “enjoining”

Oakland from continuing their current practices employed for disposing of tax

foreclosed properties and requiring the creation of “rules” that would penalize

some of those practices; (3) ordering all defendants to “return” plaintiff to the

position she was in before the tax foreclosure process and award plaintiff monetary

damages that are allowable under M.C.L. §§ 600.2918 and 600.2919(a); (4)

ordering Oakland to “correct” discriminatory practices; (5) ordering Oakland and

Southfield to “restore” plaintiff to the “position Plaintiff would have occupied but

for discriminatory conduct;” (6) ordering Oakland to “reverse the tax foreclosure”

and provide “marketable title” to plaintiff; (7) ordering “Defendant corporations”

and Southfield Non-Profit to provide a “forensic accounting” of “all monies

received and expended” relating to the foreclosure of plaintiff’s property and that

of 116 or more other properties that were foreclosed on in 2016, 2017, and 2018;


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(8) ordering Southfield Non-Profit to “provide documentation” of all property

sales regarding property transfers in 2016, 2017, and 2018 and to “rescind and

revert” any of those transfers that were improper; (9) ordering Oakland to

discontinue transferring foreclosed properties to private corporations contrary to

M.C.L. § 213.23(2); ordering Southfield and Southfield Non-Profit, as well as

other named defendants, to ‘”cease usurping the rights of African-American

Southfield residents to bid on properties at the public auction; and (10) ordering

Oakland and “all other Defendants” to return plaintiff’s property to the tax roles

[sic]” and award monetary damages to plaintiff. (ECF No. 8, PageID.145-149).

      While couched in different claims, it is clear that plaintiff’s complaint is

focused on the state tax foreclosure procedure that resulted in the loss of her

property. Most of her claims, in one way or another, seek to invalidate the tax

foreclosure process employed in her case or obtain monetary damages from some

or all of the defendants for the wrongs that she claims to have suffered. Two of her

claims, illegal eviction and conversion, are state law-based claims that do not seek

to invalidate the tax foreclosure process.

      The TIA addresses any attempt to “enjoin, suspend, or restrain the

assessment, levy or collection of any tax under State law.” 28 U.S.C. § 1341. This

federal statute “creates a jurisdictional barrier … for claims of declaratory or

injunctive relief brought by a party aggrieved by a state’s administration of its


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taxing authority.” Pegross v. Oakland Cnty. Treasurer, 592 F.App’x 380, 384 (6th

Cir. 2014). Without doubt the tax foreclosure procedure at the heart of plaintiff’s

complaint is a core aspect of a “state’s administration of its taxing authority.” To

the extent that plaintiff’s amended complaint seeks to declare as improper or enjoin

the tax foreclosure procedure that resulted in the loss of her home, those efforts

would be barred by the TIA as long as there is a “plain, speedy and efficient

remedy [that] may be had in the courts of such State.” 28 U.S.C. § 1341.

      Defendants also invoke a related, but independent, common-law principle

that would, if applicable, serve to prevent a federal district court from taking

jurisdiction of challenges to state tax administration. This principle, referred to as

comity, is a form of abstention that prevents federal district courts from becoming

entangled in state tax disputes. This principle is “substantially broader” than the

bar imposed by the Tax Injunction Act. In re Gillis, 836 F.2d 1001, 1006 (6th Cir.

1988). A part of plaintiff’s prayer for relief is a request for monetary damages.

This type of relief is outside the scope of the “declaratory or injunctive” relief that

is barred by the TIA but comes within the parameters of the comity principle. Fair

Assessment in Real Estate Ass’n v. McNary, 454 U.S. 100, 110 (1981). The comity

principle also requires a state court remedy to be available to the plaintiff before

the case will be barred from federal district court. Under the comity principle, the

state court remedy must be “plain, adequate, and complete” in order for the case to


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be barred. Id. 454 U.S. at 116. It is really the nature of the relief sought, rather than

the specific claims, that determine the applicability of the TIA/comity standards.

Attempts to challenge the state’s tax administration are subject to those standards

without regard to specific claims made.

      While the definition of the state court remedy required by both the TIA and

the comity principle differs in wording, there is “no significant difference”

between the “plain, speedy, and efficient remedy” identified in the TIA and the

“plain, adequate, and complete” state remedy identified in the comity principle. Id.

454 U.S. at 116 n. 8. State “remedies are plain, adequate, and complete if they

provide the taxpayer with a full hearing and judicial determination at which the

taxpayer may raise any … objections to the tax.” Gillis, 836 F.2d at 1010.

      On four recent occasions this court, speaking through four different judges,

has addressed situations in which property owners have challenged state

foreclosure proceedings under the GPTA. In each of these occasions the judges

consistently determined that the court lacked jurisdiction to entertain claims

pursued in federal court that would in some manner “enjoin, suspend, or restrain”

the collection of state taxes or the enforcement of the GPTA. In Rafaeli, LLC v.

Wayne County, 2015 WL 3522546 (E.D. Mich, June 4, 2015), Judge Berg

concluded that the TIA and the principles of comity barred federal district courts

from considering the plaintiffs’ constitutional challenges to the GPTA. Judge Berg


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determined that plaintiff’s challenges were “for claims of declaratory or injunctive

relief brought by a party aggrieved by a state’s administration of its taxing

authority” and that “a plain, adequate, and complete remedy [was] available in the

state courts.” Id., at 7-8. 4 Adequate state remedies were identified by Judge Berg as

existing in the GTPA, M.C.L. § 211.78l, and the Oakland County Circuit Court. Id.

       The following year Judge Levy considered claims of a purported class action

that brought constitutional and statutory challenges regarding the Michigan GPTA.

In Hammoud v. County of Wayne, 2016 WL 4560635 (E.D. Mich. 2016), aff’d 697

Fed. App’x 445 (6th Cir. 2017), Judge Levy, contrary to the plaintiff’s argument,

determined that the constitutional claims and some of the state statutory claims

sought to “set aside the judgments of foreclosure, vest title back in plaintiffs’

names, and permit plaintiffs to pay the back taxes owed” and therefore that relief

“would certainly ‘enjoin, suspend or restrain the assessment, levy or collection of a

[ ] tax under State law’” thus triggering the prohibitions of the TIA and requiring

the dismissal of those claims. Id. at 4. The opinion further noted that various state



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         Plaintiffs in that case have pursued related constitutional claims in state court and leave
to appeal from an unfavorable decision in the Michigan Court of Appeals has been granted by
the Michigan Supreme Court, Rafaeli, LLC v. Oakland County, 503 Mich. 909 (2018), with oral
argument scheduled to take place in November of 2019, Rafaeli, LLC v. Oakland County, 932
N.W.2d 1 (2019). The Michigan Supreme Court held oral argument, and on November 27th
allowed the parties to file post-argument supplemental briefing by December 13th. Id. at 935
N.W.2d 354. Both parties filed supplemental briefs. See filings listed on state Supreme Court
website, https://courts.michigan.gov/Courts/MichiganSupremeCourt/oral-arguments/2019-
2020/Pages/156849.aspx.
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court remedies were available to plaintiffs, citing a number of state court cases in

which similar claims were adjudicated. The comity principle relating to federal

district court jurisdiction of state tax administration was not a part of Judge Levy’s

analysis. A civil RICO claim and several state statutory claims were also dismissed

in the ruling but for different reasons. Judge Levy concluded that these statutory

claims did not directly threaten the state tax administration and therefore the TIA

did not apply to these claims. The civil RICO claim was dismissed because the

complaint did not properly allege the requirements of such a claim and the

remaining state statutory claims were dismissed because all the federal claims were

being dismissed and the court did “not have supplemental jurisdiction to address”

the state statutory claims in the absence of a cognizable federal claim. Id. at 8.

Adequate state remedies were identified in the ruling on these claims that were

similar in many respects to the claims in the present case. Id. at 5.

      In Freed v. Thomas, 2018 WL 5831013 (E.D. Mich. Nov. 7, 2018)5 Judge

Friedman dismissed, for lack of subject matter jurisdiction, constitutional claims

regarding the Michigan GTPA based on the TIA and comity principles. Id. at 3.

Judge Friedman, echoing the views of several other judges, characterized the

GTPA as an “unfair tax collection regimen” but was bound by Wayside Church v.

Van Buren County, 847 F.3d 812 (6th Cir. 2017) to rule that the federal district


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          This decision is currently on appeal to the Sixth Circuit.
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courts, when adequate remedies exist in Michigan courts, did not have subject

matter jurisdiction over challenges to the GTPA. Id. Citing Wayside Church again,

Judge Friedman found that the plaintiff had adequate state remedies, even if those

remedies were not likely to result in the relief plaintiff was seeking. Id. at 4, n. 1).

       More recently, Judge Borman dismissed a complaint with a strikingly

similar set of claims to the present amended complaint. In Edwards v. Meisner,

2019 WL 78890 (E.D. Mich. Jan. 2, 2019) the plaintiff had attempted to challenge

the tax foreclosure sale of his residence in the City of Southfield through litigation

in Oakland County Circuit Court. That effort proved unsuccessful for the plaintiff

and the Southfield Neighborhood Revitalization Initiative, LLC, the title holder to

the property following the foreclosure sale, obtained a judgment of eviction from a

state district court. Plaintiff filed the complaint in federal court and sought a

preliminary injunction to halt the eviction pursuant to the state court order. Judge

Borman denied the motion for a preliminary injunction and, sua sponte, dismissed

the complaint for lack of subject matter jurisdiction. The ruling was based initially

on the Rooker-Feldman doctrine6 in that the relief requested by plaintiff could not

be granted without invalidating the state court judgment of foreclosure and the




       6
         The Rooker-Feldman doctrine is based on two Supreme Court decisions, District of
Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983) and Rooker v. Fidelity Trust Co.
263 U.S. 413 (1923), which stand for the proposition that under 28 U.S.C. § 1257(a) lower
federal courts do not have subject matter jurisdiction to review the decisions of state courts.
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state court judgment of eviction which, under Rooker-Feldman, the district court

does not have jurisdiction to do. Judge Borman also ruled, even if Rooker-Feldman

did not apply, that the TIA and comity principles barred the district court from

assuming jurisdiction of plaintiff’s claims in that in order to grant the relief

plaintiff requested the court would have to “enjoin, suspend or restrain the

assessment, levy or collection of [a] tax under State law.” 28 U.S.C. § 1341. Judge

Borman recognized the requirement, for application of the TIA and comity

principles, that an adequate state court remedy must exist and pointed to plaintiff’s

efforts to litigate the same issues in state court prior to filing the action in federal

court as proof that such remedies existed. The decision that adequate state

remedies existed, for purposes of imposing the jurisdictional limitations of the TIA

and comity principles, was made regardless of whether those remedies had been

successful, would be successful, or even if those remedies had lapsed. As long as

state remedies could have been pursued, they were adequate. 2019 WL 78890, at

8-9.

       The above cases from this district establish a well-worn path for dismissing

cases filed in the federal district court that challenge the tax foreclosure and

revenue raising scheme of the State of Michigan under the TIA and principles of

comity. That path should be followed here as well. While plaintiff presents as a

sympathetic individual in unfortunate circumstances, federal law clearly


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establishes jurisdictional barriers to challenges to the administration of state

taxation procedures. Plaintiff has the burden of proof to establish subject matter

jurisdiction and that burden has not been met here. Counts One through Four of

the amended complaint allege violations of constitutional or statutory rights

relating directly to the tax foreclosure and sale of plaintiff’s residence in 2016. The

relief plaintiff requests is not linked to specific claims but does include declaratory

relief, injunctive relief, and money damages. To grant that requested relief would

require this court to “enjoin, suspend or restrain the assessment, levy or collection

of [a] tax under State law” which this court in not permitted to do under the TIA.

The TIA only prohibits declaratory or injunctive relief but a request for damages

arising out of a tax collection process is barred by the free-standing principle of

comity. Pegross v. Oakland County Treasurer, 592 F.App’x 380, 386 (6th Cir.

2014). Plaintiff does not claim that adequate state remedies do not exist – only that

such remedies are likely to be unsuccessful. Likelihood of success is not the test of

adequacy for purposes of the TIA or comity. Four judges in this district, as noted

above, found that adequate remedies existed in the Michigan state courts for the

grievances alleged in those cases and those are the same, or substantially similar, to

the grievances plaintiff here alleges.

      Counts Five and Six of plaintiff’s amended complaint present a different set

of circumstances. Those claims, “Forcible Illegal Eviction Under State Law”


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(Count Five) and “Conversion” (Count Six) are based on alleged violations of

Michigan statutory and common law. Plaintiff seeks money damages for both of

these claims. An award of damages in either of these claims would not “enjoin,

suspend or restrain the assessment, levy or collection” of a state tax. The TIA

“operates ‘particularly’ to protect the States’ ‘revenue raising’ mechanisms”

through the taxation process. BellSouth Telecommunications, Inc. v. Farris, 542

F.3d 499, 502 (6th Cir. 2008) (quoting from Wright v. McClain, 835 F.2d 143, 144

(6th Cir. 1987)). Here, the revenue had already been raised by the time the plaintiff

was allegedly removed from her residence and her personal possessions were taken

by the private actors who had come to clean out her house. Although the

TIA/comity broom does not sweep counts Five and Six away they have to be

dismissed for another reason. State claims can only be pursued in federal court if

they are “supplemental” to appropriate federal claims pending in the same action.

28 U.S.C. § 1367. With Counts One through Four dismissed there are no other

federal claims remaining and Counts Five and Six must also be dismissed without

prejudice.

      C.     Rooker-Feldman Doctrine

      Defendants Oakland and Southfield contend that a second basis for dismissal

of the complaint for lack of subject matter jurisdiction is the Rooker-Feldman

doctrine. The Rooker-Feldman doctrine reflects the statutory provisions of 28


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U.S.C. § 1257(a) which provides that review of state court judgments lies in the

Supreme Court, rather than federal district courts. The doctrine applies to “state-

court losers complaining of injuries caused by state-court judgments rendered

before the district court proceedings commenced and inviting district court review

and rejection of those judgments. Rooker-Feldman does not otherwise override or

supplant preclusion doctrine or augment the circumscribed doctrines that allow

federal courts to stay or dismiss proceedings in deference to state-court actions.”

Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005). “Nor

does [Rooker-Feldman] stop a district court from exercising subject matter

jurisdiction simply because a party attempts to litigate in federal court a matter

previously litigated in state court. If a federal court plaintiff ‘present[s] some

independent claim, albeit one that denies a legal conclusion that a state court has

reached in a case to which it was a party …, then there is jurisdiction and state law

determines whether the defendant prevails under principles of preclusion.’” Id.

(quoting GASH v. Vill. Of Rosemont, 995 F.2d 726, 728 (7th Cir. 1993) (ellipses in

original)).

       In applying Rooker-Feldman, the appropriate “inquiry … is the source of the

injury the plaintiff alleges in the federal complaint. If the source of the injury is the

state court decision, then the Rooker-Feldman would prevent the district court

from asserting jurisdiction. If there is some other source of injury, such as a third


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party’s actions, then the plaintiff asserts an independent claim” and Rooker-

Feldman does not bar the claim in federal court. McCormick v. Braverman, 451

F.3d 382, 393 (6th Cir. 2006).

      Both defendants that have raised Rooker-Feldman in their motions to

dismiss seek to have the entire amended complaint dismissed on that basis. Their

analysis does not reflect the nuanced approach that is necessary to properly

consider the Rooker-Feldman doctrine as a basis for dismissing plaintiff’s

amended complaint.

      In determining the applicability of the Rooker–Feldman doctrine, federal

courts “cannot simply compare the issues involved in the state-court proceeding to

those raised in the federal-court plaintiff's complaint,” but instead “must pay close

attention to the relief sought by the federal-court plaintiff.” Bianchi v.

Rylaarsdam, 334 F.3d 895, 900 (9th Cir. 2003) (emphasis in original); Berry v.

Schmitt, 688 F.3d 290, 299 (6th Cir. 2012). Where the plaintiff seeks injunctive

and declaratory relief prohibiting the future application of a statute, and not to

overturn the state court’s judgment under that statute, Rooker-Feldman does not

apply. Hood v. Keller, 341 F.3d 593, 598 (6th Cir. 2003). However, where the

plaintiff seeks to overturn the state court rulings, and not just a declaration that the

applicable state law is unconstitutional, Rooker-Feldman applies.




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      Plaintiff alleges six distinct claims in her amended complaint. (ECF 8).

Those claims include: (1) race discrimination, (2) illegal property transfer in

violation of state law, (3) due process, (4) RICO, (5) forcible illegal eviction, and

(6) conversion. The only state court judgment in the history of this case is the

judgment of foreclosure entered on February 2, 2016. Counts 5 and 6 of the

amended complaint relate to allegations regarding plaintiff’s removal from her

residence in approximately October of 2016 and these counts include specific

requests for money damages. With respect to these two counts, the injury claimed

is not based on a state court judgment and therefore these claims are not barred by

Rooker-Feldman.

      The first four counts of plaintiff’s amended complaint raise claims that, it

could be argued, are not based directly on the state court judgment of foreclosure.

However, the general prayer for relief seeks, among other things, relief that

includes “return[ing]” plaintiff to the position she was in, “restor[ing]” plaintiff to

the position she was in before defendants’ conduct, and “revers[ing] the tax

foreclosure against” her. (ECF No. 8, PageID.146-47). As noted above, the relief

requested is more the measure of the application of Rooker-Feldman than the

specific claims made. In that the relief requested is generally alleged it cannot be

determined, from the face of the amended complaint, whether the request to




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“restore” plaintiff to the position she was in before the judgment of foreclosure is

applicable to a single claim or all four of claims alleged in Counts 1-4.

       Plaintiff’s amended complaint is almost a word-for-word copy of the

complaint in Edwards v. Meisner, Case No. 18-cv-13488 (E.D. Mich.). As noted

above, Judge Borman dismissed that complaint for lack of subject matter

jurisdiction in part based on Rooker-Feldman. In his ruling on the Rooker-Feldman

question, Judge Borman stated that if the plaintiff was seeking the reversal of the

state court judgment of foreclosure then dismissal under Rooker-Feldman was

appropriate. Judge Borman went on to state that he could not “award [plaintiff’s

requested] relief without invalidating the state court judgment of foreclosure and

order of eviction [and therefore] Rooker-Feldman applies and bars this Court from

exercising jurisdiction over Plaintiff’s claims seeking to invalidate these state court

judgments.” 2019 WL 78890, at 7. 7

       The undersigned agrees with Judge Borman’s ruling in Edwards. The same

claims were made in that case as were made in Counts 1-4 of the present amended

complaint. The same relief was requested there as well and it sought to invalidate

the prior state court judgment of foreclosure just as plaintiff is attempting to do




       7
         The Edwards case had two state court judgments to consider, one for foreclosure and a
second judgment for eviction. The present case does not include an eviction judgment but that
does not change the application of Rooker-Feldman to the facts of this case because the relief
requested necessarily reached the foreclosure judgment even if there was no eviction judgment.
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here. On that basis, Counts 1-4 of the present amended complaint should be

dismissed pursuant to Rooker-Feldman for lack of subject matter jurisdiction in

this court. Counts 5-6 should not be dismissed on the same basis.

Res Judicata

      The Oakland and Southfield Non-Profit defendants assert that the amended

complaint should be dismissed based on principles of res judicata. In essence, these

defendants contend that the claims plaintiff has raised in her amended complaint

should be dismissed because they could have been raised in the tax foreclosure

proceedings that resulted in a judgment of foreclosure in state court. “The

preclusive effect of a state court judgment in a subsequent federal lawsuit generally

is determined by the full faith and credit statute, which provides that state judicial

proceedings ‘shall have the same full faith and credit in every court within the

United States … as they have by law or usage in the courts of such State … from

which they are taken.’” Marrese v. American Academy of Orthopaedic Surgeons,

470 U.S. 373, 380 (1985), quoting from 28 U.S.C. § 1738. “’It has long been

established that § 1738 does not allow federal courts to employ their own rules of

res judicata in determining the effect of state judgments. Rather, it goes beyond the

common law and commands a federal court to accept the rules chosen by the State

from which the judgment is taken.’” Id., quoting from Kremer v. Chemical

Construction Corp., 456 U.S. 461, 481-482 (1982).


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      “Michigan courts have broadly applied the doctrine of res judicata. They

have barred, not only claims already litigated, but every claim arising from the

same transaction that the parties, exercising reasonable diligence, could have raised

but did not.” Sewell v. Clean Cut Mgmt, Inc., 463 Mich. 569, 575 (2001). “The test

for determining whether two claims arise out of the same transaction and are

identical for res judicata purposes is whether the same facts or evidence are

essential to the maintenance of the two actions.” Jones v. State Farm Mut. Auto.

Ins. Co., 202 Mich. App. 393, 401 (1993). Defendant Southfield Non-Profit alleges

that “the relief sought by Plaintiff in this case is the same as in her State Court

proceedings.” (ECF No. 15-1, PageID.370). It is not entirely clear what counsel

meant by that statement because there is nothing in this record to suggest that

plaintiff actually appeared in state court and made any particular claims regarding

the tax foreclosure of her former residence. If plaintiff did not appear in state court,

as would appear to be the case here, the only issue actually addressed in the state

court proceeding was whether the property was delinquent in taxes, interest,

penalties, and fees and whether the property had been redeemed. M.C.L. §

211.78g-211.78h. If these findings were made the final judgment of foreclosure

would issue under M.C.L. § 211.78k(5).

      There is at least one exception to the broad application of the doctrine of res

judicata in Michigan. In J.A.M. Corp. v. AARO Disposal, Inc., 461 Mich. 161


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(1999) the Michigan Supreme Court reviewed a situation in which the plaintiff had

previously litigated a matter under the Michigan summary proceedings law,

M.C.L. § 600.5701 et seq., in state district court and then later pursued other

claims in state circuit court. In the court’s analysis of a res judicata defense to the

circuit court action, it was noted that a section of the summary proceedings law,

MCL § 600.5750, “evidences the Legislature’s intent that summary proceedings

for possession of property be handled expeditiously. Plainly the Legislature took

these cases outside the realm of the normal rules concerning merger and bar in

order that attorneys would not be obligated to fasten all other pending claims to the

swiftly moving summary proceedings.” Id. at 168-69. Later the court noted that “in

light of the first sentence of MCL 600.570 … clarifying that the remedy in these

summary proceedings, no matter who prevails, does not bar other claims for relief”

and reversed the decisions of lower courts, that had ruled res judicata barred the

claims made by plaintiff in circuit court. Id. at 170-71.

      The Michigan tax foreclosure law bears some resemblance to the summary

proceedings law with respect to a perceived legislative intent to create an expedited

procedure for foreclosure in tax delinquency cases, as compared to the general

foreclosure procedure. The tax foreclosure procedure condenses the process for

obtaining a judgment, has a shorter redemption period than the general Michigan




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foreclosure procedure, 8 and eliminates the possible payment of a surplus to the

delinquent party. 9 These factors evidence an intent to streamline the foreclosure

process in tax delinquency circumstances. Additionally, and particularly significant

for a res judicata analysis, is the statutory limitation on the issues that can be

litigated in the tax foreclosure process. M.C.L. § 211.78k(2) identifies only six

issues that can be raised by “the person claiming an interest in a parcel of property”

subject to the tax foreclosure process and none of these limited issues are

comparable to the issues raised by plaintiff in Counts 1-4 of her amended

complaint. Litigating the claims made in plaintiff’s amended complaint would

clearly involve facts beyond those that were, or could have been litigated in the

state court tax foreclosure proceeding.

       While without question the Michigan res judicata law is “broad” and

includes issues that were raised in a prior litigation as well as issues that “could”

have been raised, it does not appear that plaintiff could have raised her claims in

the tax foreclosure process given the jurisdictional limitations on that process



       8
          The general foreclosure procedure calls for a six-month redemption period, M.C.L. §
600.3140(1), whereas the tax foreclosure procedure calls for a 21-day redemption period in
contested cases. M.C.L. § 211.78i(6)(g).
        9
          The general foreclosure procedure provides for the payment of any surplus generated
after subtracting the delinquency owed from the proceeds of the public sale whereas the tax
foreclosure procedure does not require such payment. This aspect of the tax foreclosure
procedure has sparked judicial criticism of the process including, as noted earlier, Judge
Friedman’s characterization of the process as an “unfair tax collection regimen.” Freed v.
Thomas, 2018 WL 5831013 at 3 (E.D. Mich. Nov. 7, 2018).
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provided for in M.C.L. § 211.78k(2). Counts 5-6 of the amended complaint are

obviously outside the scope of what could have been litigated in the tax foreclosure

matter because they took place months after the tax foreclosure judgment was

entered.

      Both of these groups of defendants cite Anderson v. County of Wayne, 2011

WL 2470467 (E.D. Mich. Jun 20, 2011) in support of their arguments that

plaintiff’s amended complaint should be dismissed based on principles of res

judicata. Anderson did involve a matter previously litigated in a Michigan tax

foreclosure proceeding that was brought to federal district court by the plaintiff in

an attempt to have the federal court “vacate” the state foreclosure judgment. In

ruling that the federal claim was barred by res judicata principles, Judge Borman

stated that the exact issue raised in the federal case - whether plaintiff should be

permitted to make partial payments on the tax liabilities - had been litigated in state

court and it was the only issue litigated in the state court. That fact distinguishes it

from the present case in that Judge Borman did not address the scope of what could

have been raised in the state court tax foreclosure case.

      Based on the above analysis, the undersigned concludes that res judicata

does not bar plaintiff’s amended complaint.

      D.     Failure to State a Claim




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      Defendants Oakland and Southfield Non-Profit also seek to have the

amended complaint dismissed due to the plaintiff’s failure to state a claim on

which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6). In light of the

undersigned’s conclusion that this case should be dismissed in its entirety based on

the TIA, principles of comity, as well as the Rooker-Feldman doctrine, it is not

necessary to address the defendants’ arguments under Rule 12(b)(6).

IV.   RECOMMENDATION

      For the reasons set forth above, the undersigned RECOMMENDS that the

case be DISMISSED WITHOUT PREJUDICE.

      The parties to this action may object to and seek review of this Report and

Recommendation, but are required to file any objections within 14 days of service,

as provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule

72.1(d). Failure to file specific objections constitutes a waiver of any further right

of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health and

Human Servs., 932 F.2d 505 (6th Cir. 1981). Filing objections that raise some

issues but fail to raise others with specificity will not preserve all the objections a

party might have to this Report and Recommendation. Willis v. Sec’y of Health

and Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to Local Rule

72.1(d)(2), any objections must be served on this Magistrate Judge.


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      Any objections must be labeled as “Objection No. 1,” “Objection No. 2,”

etc. Any objection must recite precisely the provision of this Report and

Recommendation to which it pertains. Not later than 14 days after service of an

objection, the opposing party may file a concise response proportionate to the

objections in length and complexity. Fed.R.Civ.P. 72(b)(2), Local Rule 72.1(d).

The response must specifically address each issue raised in the objections, in the

same order, and labeled as “Response to Objection No. 1,” “Response to Objection

No. 2,” etc. If the Court determines that any objections are without merit, it may

rule without awaiting the response.

       Date: January 9, 2020                      s/Michael J. Hluchaniuk
                                                  Michael J. Hluchaniuk
                                                  United States Magistrate Judge

                             CERTIFICATE OF SERVICE

       I certify that on January 9, 2020, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system, which will send electronic
notification to all counsel of record and by regular first-class mail to NON-ECF
Participant: Marion Sinclair, 25325 Grodan Dr., Apt. 220, Southfield, MI 48022.


                                                s/Durene Worth
                                                Case Manager
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